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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN



UNITED STATES OF AMERICA,

                        Plaintiff,                    Case No. 2:14-cr-09-05

v.                                                    HON. ROBERT HOLMES BELL

TINA MARIE VALIQUETTE,

                  Defendant.
____________________________________/


                             REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on August 26, 2014, after receiving the written consent of defendant and all counsel. At the

hearing, defendant TINA MARIE VALIQUETTE entered a plea of guilty to Count Four of the Third

Superseding Indictment, charging defendant with Possession and Distribution of Pseudoephedrine,

a List I chemical, with knowledge that it will be used to make methamphetamine, a Schedule II

controlled substance, in violation of 21 U.S.C. § 841(c)(2), in exchange for the undertakings made

by the government in the written plea agreement. On the basis of the record made at the hearing, I

find that defendant is fully capable and competent to enter an informed plea; that the plea is made

knowingly and with full understanding of each of the rights waived by defendant; that it is made

voluntarily and free from any force, threats, or promises, apart from the promises in the plea agree-

ment; that the defendant understands the nature of the charge and penalties provided by law; and that

the plea has a sufficient basis in fact.
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                  I therefore recommend that defendant's plea of guilty to Count Four of the Third

Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the written

plea agreement be considered for acceptance at the time of sentencing. It is further recommended

that the order setting conditions of defendant's release remain in effect pending sentencing.

Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, determination of

defendant's status pending sentencing, and imposition of sentence are specifically reserved for the

district judge.



Date: August 27, 2014                                  /s/ Timothy P. Greeley
                                                      TIMOTHY P. GREELEY
                                                      United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than fourteen days after the plea hearing. See
W.D. MICH . L.CR.R. 11.1(d).




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